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          IN THE UNITED STATES DISTRICT COURT FOR THE
                 NORTHERN DISTRICT OF GEORGIA
                        ATLANTA DIVISION


GEORGIA COALITION FOR THE                *
PEOPLE’S AGENDA, INC., as an             *
organization, et al.,                    *
                                         *
             Plaintiffs,                 *
                                         *
      v.                                 *            1:18-CV-04727-ELR
                                         *
BRIAN KEMP, in his official capacity *
as Secretary of State for the State      *
of Georgia,                              *
                                         *
             Defendant.                  *
                                         *
                                    _________

                                     ORDER
                                     _________

      Presently before the Court is Plaintiffs’ Emergency Motion for Preliminary

Injunction. [Doc. 17]. For the reasons set forth below, the Court grants Plaintiffs’

Motion.

I. Background

      This case is about the right to vote for approximately 51,111 individuals who

have been flagged by the State of Georgia as ineligible to vote due to alleged errors

with their voter registration information. While the case as a whole seeks to

redress the alleged violation of rights for all of these 51,111 individuals, Plaintiffs’
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Emergency Motion for a Preliminary Injunction seeks targeted relief for

approximately 3,141 individuals who have been flagged by the State as non-

citizens of the United States, and therefore, ineligible to vote in the upcoming

November 6, 2018 election.

      As background, on October 19, 2018, Plaintiffs Georgia Coalition for the

Peoples’ Agenda, Inc.; Asian Americans Advancing Justice-Atlanta, Inc.; Georgia

State Conference of the NAACP; New Georgia Project, Inc.; Georgia Association

of Latino Elected Officials, Inc.; ProGeorgia State Table, Inc.; The Joseph and

Evelyn Lowery Institute for Justice and Human Rights, Inc.; and Common Cause

filed an amended complaint against Defendant Brian Kemp, in his official capacity

as Secretary of State for the State of Georgia. [Doc. 15]. Plaintiffs bring three (3)

Counts against Defendant in their amended complaint as follows:

    Count I: Violation of Section 2 of the Voting Rights Act of 1965, 52 U.S.C.
     § 10301 – for the denial or abridgment of the right to vote on account of
     race, color, or membership in a language minority group;

    Count II: Violation of the First and Fourteenth Amendments to the United
     States Constitution pursuant to 42 U.S.C. § 1983 – for the protection of the
     right to vote as a fundamental right; and

    Count III: Violation of Section 8 of the National Voter Registration Act of
     1993, 52 U.S.C. § 20507(a)(1) – for preventing voter registration applicants
     who submit timely, facially complete and accurate voter registration forms
     from being registered as active voters on the Georgia voter registration list
     for upcoming elections.




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       Also on October 19, 2018, Plaintiffs Georgia Coalition for the Peoples’

Agenda, Inc.; Asian Americans Advancing Justice-Atlanta, Inc.; Georgia State

Conference of the NAACP; Georgia Association of Latino Elected Officials, Inc.;

and ProGeorgia State Table, Inc.1 filed an Emergency Motion for Preliminary

Injunction. [Doc. 17]. Defendant filed a response and Plaintiffs filed a reply, and

the Court heard argument on Plaintiffs’ Motion on October 29, 2018. Accordingly,

Plaintiffs’ Motion is now ripe for the Court’s review.

       A. The Exact Match Process in Georgia

              1. General Overview of the Exact Match Process

       In sum, and in very general terms, when a person in Georgia registers to vote

and submits a voter registration application, county election officials input the

information from the application into a statewide computer voter registration

system called “Enet.” The Enet system then checks the application information

against files from the Georgia Department of Driver Services (“DDS”) or files

from the Social Security Administration (“SSA”). If the application information in

the Enet system does not match the DDS or SSA files, then the voter registration

application is placed in “pending status,” and the person may not vote until the

person corrects the information. The burden is on the applicant to take the next

steps to correct any information and/or present the necessary proof required to the

1
  While these are “the moving Plaintiffs” for Plaintiffs’ Emergency Motion, the Court will refer
to these moving Plaintiffs simply as “Plaintiffs” throughout the order.

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appropriate officials to become a Georgia voter. If the applicant does not take the

appropriate steps to correct the information within 26 months, then the voter

application is rejected, and the individual must start over with a new voter

registration application.

             2. Underlying Law of the Exact Match Process

      Pursuant to the Help America Vote Act of 2002 (“HAVA”), Georgia is

required to implement a single, centralized computerized statewide voter

registration list containing the name and registration information of every legally

registered voter in the State. 52 U.S.C. § 21083(a)(1)(A). The above-mentioned

“Enet” is Georgia’s computerized statewide voter registration system. Pursuant to

HAVA, the State must enter into an agreement with DDS to match information in

the Enet system against information in DDS files in order to verify the accuracy of

voter registration information.     Id. at § 21083(a)(5)(B)(i).     Furthermore, the

Commissioner of Social Security must enter into an agreement with DDS also for

the purpose of verifying voter registration information for those applicants who

provide the last 4 digits of their social security number. Id. at § 21083(a)(5)(B)(ii);

see also 42 U.S.C. § 405(r)(8).

      In 2017, House Bill 268 was enacted governing elections to, inter alia,

revise the types of identification acceptable for voting and to require certain

information for voter registration. H.B. 268, 154th Gen. Assemb., Reg. Sess. (Ga.


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2017).    HB 268 is now codified at O.C.G.A. § 21-2-210, et seq. Building upon

HAVA, HB 268 requires that any individual desiring to vote in Georgia must be

registered to vote and a citizen of the United States. O.C.G.A. § 21-2-216(a)(1)-

(2).

       When an individual in Georgia wishes to register to vote, the applicant fills

out a voter registration application. Id. at § 21-2-220(a). The parties do not

dispute that local county election officials take the information from the voter

registration application and put it into the Enet system. The voter registration

application will only be accepted as valid after the board of registrars has verified

the applicant’s identity. O.C.G.A. § 21-2-220.1(c). Additionally, the applicant

must submit satisfactory evidence of United States citizenship. Id. at § 21-2-

216(g)(1).    To verify the applicant’s identity, including citizenship, the Enet

system matches the voter application information against the files of DDS or SSA. 2

Id. at § 21-2-220.1(c)(1).

       When information in the Enet system does not exactly match with

information either from the files of DDS or SSA, this creates a “non-match,” and

the individual is flagged and placed in “pending status.” County registrars are then

required to send a letter to the flagged applicants notifying them of their pending

status and the ways to remedy the issue. Applicants have 26 months following the

2
  The information provided in the application determines whether DDS or SSA files are checked,
for example, depending on whether the applicant provided a social security number.

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date of their voter registration application to remedy the issue and verify their

identity by presenting sufficient evidence of identity to the board of registrars. Id.

at § 21-2-220.1(d)(4). Failure to cure the issues before 26 months results in the

individual’s voter registration application being rejected and the individual having

to submit a new application. Id.

      A “flag,” resulting in an individual being placed in “pending status,” can

occur for various reasons, but for purposes of this lawsuit and particularly

Plaintiffs’ Emergency Motion, the flags can be broken down into two categories:

(1) flags for citizenship and (2) flags for any other non-matching information, such

as a misspelled name. This lawsuit focuses on both (1) and (2), challenging the

matching process as a whole. However, Plaintiffs’ Emergency Motion and this

order address (1), individuals who have been flagged and placed into pending

status due to citizenship, and the hurdles these individuals face as they relate to

voting in the upcoming election.

      B. How to Vote in the November 6, 2018 Election with a Non-Match
         Flag for a Reason Other than Citizenship

      As just stated, while Plaintiffs’ Motion is only about those individuals

placed in pending status for citizenship, in light of the confusion about the

matching process, the Court will set forth below how individuals who have been

flagged and placed in pending status for reasons other than citizenship may still

vote in the November 6, 2018 election. The Court takes no opinion as to whether

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this process for voting is sufficient, as this issue is not before the Court at this time.

To be clear, the Court is merely reiterating the process as set forth by Defendant

Kemp in an effort to help clarify how voting may occur.

      Elections Division Director Chris Harvey posted to an online bulletin board

an Official Election Bulletin dated October 23, 2018, to County Election Officials

and County Registrars (hereinafter “October 23 Memorandum”). [Doc. 27-1].

This Memorandum explains how those individuals flagged and placed in pending

status can vote in the November 6, 2018 election. As to those voter applicants

placed in pending status due to a flag for any non-matching information other than

citizenship, these individuals may still vote in the November 6, 2018 election as

follows:

      Pending applicants whose information (other than citizenship status)
      did not match are eligible to vote during early voting or on Election
      Day and must be allowed to vote a regular ballot if they show one of
      the following forms of identification and there are no other issues that
      would require the voter to vote a provisional ballot (i.e. wrong county,
      wrong precinct, already voted, etc.):

             (1) A Georgia driver’s license (including an expired Georgia
             driver’s license);

             (2) A valid Georgia voter identification card or other valid
             photo identification card issued by a branch, department,
             agency, or entity of the State of Georgia, any other state, or the
             United States which is authorized by law to issue personal
             identification. This includes a valid student photo ID card
             issued by a Georgia public college, university, or technical
             school; a valid out-of-state driver’s license; public transit issued


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             photo ID card; and any other federal or state agency or
             government issued photo ID card;

             (3) A valid United States passport;

             (4) A valid employee photo identification card issued by any
             branch, department, agency, or entity of the United States
             government, this state, or any county, municipality, board,
             authority, or other entity of this state;

             (5) A valid United States military photo identification card; or

             (6) A valid tribal photo identification card.

Oct. 23 Mem. at 1 [Doc. 27-1]. Defendant’s Memorandum makes clear that these

applicants may present proof of identity as explained above to a poll worker. Id.

at 5 (explaining that the poll worker can check identity and create a voter access

card). Moreover, the poll worker “must simply confirm that the voter is the same

person as the applicant.” Id. at 3. Once a poll worker verifies the applicant’s

identity, the individual is “given credit for voting,” and their Enet status should be

updated from “pending” to “active.” Id.

II. Plaintiffs’ Emergency Motion for a Preliminary Injunction

      The Court now turns to Plaintiffs’ Emergency Motion for a Preliminary

Injunction, which seeks relief for those individuals who have been flagged and

placed in pending status due to citizenship.




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      A. Standing

      Plaintiffs argue that they have organizational standing to seek relief in their

Emergency Motion. Defendant did not address Plaintiffs’ argument on standing.

“An organization has standing to sue when a defendant’s illegal acts impair the

organization’s ability to engage in its own projects by forcing the organization to

divert resources in response.” Arcia v. Fla. Sec’y of State, 772 F.3d 1335, 1341

(11th Cir. 2014).     Plaintiffs argue that they participate in voter registration

activities and must divert resources to educate voters about Georgia’s exact match

verification protocol, assist voters inaccurately flagged as non-citizens, and resolve

issues these voters may face when attempting to prove their citizenship. Plaintiffs

submit the declarations of the Executive Directors or President for each of their

organizations in support. See Pls.’ Mem. of Law in Supp. of Pls.’ Emergency Mot.

for Prelim. Inj. at 19 [Doc. 17-1]. Based on the evidence presented by Plaintiffs,

the Court finds that Plaintiffs have organizational standing because these

organizations will have to divert personnel and resources to educate individuals

about the exact match process and assist those who have been flagged and placed

into pending status, including helping to resolve issues surrounding citizenship

before Election Day. See Fla. State Conference of NAACP v. Browning, 522 F.3d

1153, 1165 (11th Cir. 2008) (organization had standing to challenge election law

by showing that they would have to divert personnel and time to educating


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potential voters on compliance with the laws and assisting voters who might be

affected by the challenged election law).

      B. Doctrine of Laches

      Defendant argues that Plaintiffs’ Motion is barred by the doctrine of laches.

“To establish laches, [Defendant] must demonstrate (1) there was a delay in

asserting a right or a claim, (2) the delay was not excusable, and (3) the delay

caused [Defendant] undue prejudice.” United States v. Barfield, 396 F.3d 1144,

1150 (11th Cir. 2005). Defendant argues that Plaintiffs have been fully cognizant

of Georgia’s citizenship verification procedures for a considerable period of time.

Defendant asserts that HAVA and the matching process are not new, and that some

of the Plaintiffs in this suit challenged this matching process, in substance, two (2)

years ago in NAACP v. Kemp, No. 2:16-cv-00219-WCO (N.D. Ga. 2017).

Specifically, Defendant contends that Plaintiffs have been aware of the citizenship

mismatch issue and how to remedy it because these were topics covered by the

Settlement Agreement in NAACP v. Kemp. Despite knowing of these issues for

some time, Defendant argues that Plaintiffs waited to file their amended complaint

and Emergency Motion less than a month before the November 6, 2018 election

and three (3) days after Georgia had already begun early voting. Defendant asserts

that Plaintiffs’ last-minute challenge prejudices Defendant, who must administer




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and supervise the elections, as well as the public, because Defendant must ensure

the uniformity, fairness, accuracy, and integrity of Georgia’s elections.

       In response, Plaintiffs argue that O.C.G.A. § 21-2-216(g), which is the part

of HB 268 that addresses the documentary proof for citizenship and is discussed

below, was not yet implemented at the time of the Settlement Agreement in

NAACP v. Kemp and was exempted from the Settlement Agreement in NAACP v.

Kemp. Moreover, the settling parties agreed that Plaintiffs could challenge this

statute in the future. The Court agrees with Plaintiffs’ arguments. See Decl. of

Chris Harvey, Ex. A, Settlement Agreement at 1(a) [Doc. 22-1].

      Plaintiffs also assert that they did not delay in bringing this action because

this case is based on new facts that Plaintiffs have developed over time, including

individual stories that were not necessarily indicative of a policy problem until

Plaintiffs could gather sufficient data to identify a pattern. The Court finds this

argument certainly plausible, as evidenced by the Declaration of Mr. Yotam Oren,

discussed below, who encountered hurdles while trying to vote as recently as

October 16-17, 2018. Therefore, to the extent Plaintiffs delayed in seeking relief

in this suit, the Court finds that this delay was excusable. See SunAmerica Corp.

v. Sun Life Assur. Co. of Canada, 77 F.3d 1325, 1345 (11th Cir. 1996) (Birch, J.,

concurring) (when determining whether delay was excusable, court should not rely

solely on the time period involved but also examine the reasons for any delay).


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      Additionally, the Court does not find that granting Plaintiffs injunctive relief

this close to Election Day will cause undue prejudice to Defendant or the public,

particularly where the relief sought by Plaintiffs is very limited and targeted. As

recently recognized by this Court, “multiple courts within the Eleventh Circuit

have granted injunctive relief against election officials in close temporal proximity

to an election despite recognizing the administrative burden inherent in such

relief.” Martin v. Kemp, No. 1:18-CV-4776-LMM, 2018 WL 5276242, at *6 n.6

(N.D. Ga. Oct. 24, 2018) (collecting cases).

      Finally, the defense of laches is dependent on the specific facts of a case. Id.

at *6 (citing Coca-Cola Co. v. Howard Johnson Co., 386 F. Supp. 330, 334 (N.D.

Ga. 1974)). Due to this, “courts have been hesitant to bar claims under a laches

defense when there is limited factual information available,” as is the case here.

Martin, 2018 WL 5276242, at *6 (citation omitted). Therefore, the Court finds that

Plaintiffs are not barred by the doctrine of laches in seeking relief because

Plaintiffs’ delay was excusable, Defendant will not suffer undue prejudice, and

there is a limited factual record at this early stage of the case.

      C.    The Merits of Plaintiffs’ Emergency Motion for a Preliminary
            Injunction

      Plaintiffs’ Emergency Motion for a Preliminary Injunction seeks limited and

targeted relief for those individuals who are in pending status because their

citizenship information did not match. To better understand the relief Plaintiffs

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seek in their Motion, the Court will provide additional information about the

matching process to prove citizenship.          As already noted, voter registration

application information input into the Enet system is checked against either DDS

or SSA files. Only the DDS files indicate citizenship. One need not be a United

States citizen to hold a Georgia driver’s license. Ga. DDS Rule § 375-3-1-.02(6).

After becoming a citizen, a person may update citizenship information with DDS

but need not do so. Id. at § 375-3-1-.13(1). Therefore, if a person receives a

Georgia driver’s license based on lawful status in the United States but is not yet a

citizen, the DDS files will reflect that the person is not a citizen. If that person

then becomes a naturalized citizen and submits a voter registration application

stating that he or she is a citizen, when Enet checks the voter registration

application against the DDS files, there will be “no match” because the DDS files

will indicate that the person is not a citizen based on outdated information. Herein

lies the source of the problem.

      Now the Court turns to the merits of Plaintiffs’ Motion. A plaintiff seeking

a preliminary injunction must demonstrate that: (1) there is a substantial likelihood

of success on the merits; (2) it will suffer irreparable injury if relief is not granted;

(3) the threatened injury outweighs any harm the requested relief would inflict on

the non-moving party; and (4) entry of relief would serve the public interest. See,

e.g., KH Outdoor, LLC v. City of Trussville, 458 F.3d 1261, 1268 (11th Cir.


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2006). The decision as to whether a plaintiff carried this burden “is within the

sound discretion of the district court and will not be disturbed absent a clear abuse

of discretion.” Int’l Cosmetics Exch., Inc. v. Gapardis Health & Beauty, Inc., 303

F.3d 1242, 1246 (11th Cir. 2002) (quoting Palmer v. Braun, 287 F.3d 1325, 1329

(11th Cir. 2002)) (internal quotation marks omitted).

             1. Substantial Likelihood of Success on the Merits

      Plaintiffs seek a preliminary injunction on their claims that Defendant is

infringing upon Plaintiffs’ fundamental right to vote. The parties do not dispute,

and the Court agrees, that the following framework is appropriate for evaluating

Plaintiffs’ claims.

            When deciding whether a state election law violates First and
      Fourteenth Amendment associational rights, we weigh the character
      and magnitude of the burden the State’s rule imposes on those rights
      against the interests the State contends justify that burden, and
      consider the extent to which the State’s concerns make the burden
      necessary.

Timmons v. Twin Cities Area New Party, 520 U.S. 351, 358 (1997) (quotation

omitted).

      Stated differently, the Court

      must first “consider the character and magnitude of the asserted injury
      to the rights protected by the First and Fourteenth Amendment.”
      [Anderson v. Celebrezze,] 460 U.S. 780, 789, 103 S. Ct. 1564 (1983).
      Then the court must “identify and evaluate the precise interests put
      forward by the State as justifications for the burden imposed by its
      rule.” Id. Finally, the court must “determine the legitimacy and
      strength of each of those interests,” while also considering “the extent

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      to which those interests make it necessary to burden the Plaintiff’s
      rights.” Id.

Stein v. Ala. Sec’y of State, 774 F.3d 689, 694 (11th Cir. 2014).

      “[I]f the state election scheme imposes “severe burdens” on the
      plaintiffs’ constitutional rights, it may survive only if it is “narrowly
      tailored and advance[s] a compelling state interest.” Timmons, 520
      U.S. at 358. But when a state’s election law imposes only “reasonable,
      nondiscriminatory restrictions” upon a plaintiff’s First and Fourteenth
      Amendment rights, “a State’s important regulatory interests will
      usually be enough to justify reasonable, nondiscriminatory
      restrictions.” Id. (quotations omitted). In short, the level of the
      scrutiny to which election laws are subject varies with the burden they
      impose on constitutionally protected rights—“Lesser burdens trigger
      less exacting review.” Id.

Stein, 774 F.3d at 694. Therefore, the “Supreme Court has rejected a litmus-paper

test for constitutional challenges to specific provisions of a State’s election laws

and instead has applied a flexible standard.” Common Cause/Georgia v. Billups,

554 F.3d 1340, 1352 (11th Cir. 2009) (quotation omitted).

      Thus, the Court begins by evaluating the burden the election scheme places

on Plaintiffs’ First and Fourteenth Amendment rights. To evaluate this burden, the

Court must clarify the facts as presented by the parties. Plaintiffs, relying on

information from a Georgia Poll Worker Manual for 2018, assert that on Election

Day, there is only one way that an individual in pending status for citizenship can

vote in the upcoming election and that this way is severely burdensome. In

response, Defendant presented five (5) Options that such an individual could vote

in the upcoming election, as supported by the Declaration of Chris Harvey. The

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evidence presented by Defendant shows that Plaintiffs’ contention is incorrect, as

the evidence from Mr. Harvey is more thorough and up to date than the Poll

Worker Manual.

       Accordingly, these are the five (5) Options that an individual in pending

status for citizenship may vote in the upcoming election as argued by Defendant

and as supported by Mr. Harvey’s October 23 Memorandum:

       1. When applicants receive a letter from their county registrar
          notifying them of the mismatch, they may provide the county
          registrar with a document that shows they are a United States
          citizen via personal delivery, mail, email as an attachment, or
          facsimile.

       2. Applicants may produce one of the forms of acceptable proof of
          citizenship to a deputy registrar when they appear to vote at a
          polling location.

       3. If a deputy registrar is not present, then applicants may present
          proof of their citizenship to the poll manager, who shall transmit a
          copy of the applicant’s proof of citizenship to the county registrar’s
          office via text message, email or fax. At that time, the country
          [sic] registrar will update the applicant’s citizenship status, and the
          applicant will be permitted to cast a regular ballot.

       4. If the [deputy registrar3] cannot be reached (or the requisite
          technology is not available), then the applicant shall be offered the
          opportunity to cast a provisional ballot. In such a situation, the
          provisional ballot should be marked by the poll manager . . . to
          confirm that the applicant presented one of the forms of acceptable
          proof of citizenship and ID at the time the ballot was cast, and the

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  The Court has quoted the five (5) Options from Defendant’s Response. In this original quote,
Defendant has stated that if a “poll manager” cannot be reached. However, at other times
throughout his brief and at the hearing, Defendant refers to Option 4 as whether the “deputy
registrar” is not available.

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          provisional ballot shall be counted as a vote without requiring any
          further action.

      5. Finally, if the applicant is unable to present one of the accepted
         forms of proof of citizenship, then the applicant shall be offered
         the opportunity to cast a provisional ballot. The applicant must
         then present proof of citizenship in person, via fax, email or text to
         the county registrar before the close of the provisional ballot period
         on the Friday following the election.

Def.’s Resp. in Opp’n to Pls.’ Emergency Mot. for Prelim. Inj. at 14-15 [Doc. 24-

1] (quotations and citations omitted).

      Defendant maintains that these five (5) Options are currently being

implemented and will be in effect on Election Day. However, Plaintiffs cite to

evidence that shows otherwise. Plaintiffs present the declaration of Yotam Oren,

who states that he legally obtained a Georgia driver’s license in 2010 and renewed

his license as a non-citizen, legal permanent resident several times to keep it active.

On December 18, 2017, Mr. Oren became a naturalized citizen of the United

States, and after the naturalization ceremony, he completed a Georgia voter

registration form and included a copy of his naturalization certificate with his form.

Mr. Oren further states that he does not recall ever being informed that he needed

to update his records with DDS to reflect the change in his citizenship after

becoming a naturalized citizen. Sometime after submitting his voter registration

application, he received a letter from the Fulton County voter registration office

indicating that his voter registration was in pending status due to citizenship and


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that he would need to show proof of citizenship to vote. Mr. Oren understood from

the letter that he could bring proof of citizenship to the polling station at the time

he voted.

      Prior to voting early in the November 6, 2018 election, Mr. Oren checked

Defendant Kemp’s Secretary of State website, which informed Mr. Oren that he

could vote if he brought proof of citizenship to the polling station. On October 16,

2018, Mr. Oren went to his designated early-voting polling location in Fulton

County. He checked in with a poll worker and showed her his valid United States

passport as proof of citizenship. The poll worker directed Mr. Oren to another

election official, who informed Mr. Oren that she would need to call yet another

person to change his status from “pending” to “active” so that he could vote.

While Mr. Oren waited, the official was unable to reach the intended person on the

phone and informed Mr. Oren that he could continue to wait or come back another

time to vote. No one offered Mr. Oren an option to cast a provisional ballot. Mr.

Oren did not want to wait any longer and left.

      The following day, Mr. Oren called the Fulton County voter registration

office to learn how he could resolve the issue, and he was provided with a name

and phone number to call when he returned to his polling location. Later that day,

Mr. Oren returned to the same polling location as the previous day, checked in

again with a poll worker showing his passport, and he was again directed to


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another election official. This time, however, he provided the election official with

the name and telephone number he had received from the Fulton County voter

registration office, and the election official was able to speak with this person via

telephone. Mr. Oren’s status was changed from pending to active, and he was

finally able to cast his first vote as a United States citizen. See generally Decl. of

Yotam Oren [Doc. 27-2]. The evidence from Mr. Oren contradicts Defendant’s

position that the five (5) Options to prove citizenship and vote in the upcoming

election are being implemented. At a minimum, of the five (5) Options, Mr. Oren

was not offered Options 3, 4, or 5.

      In response, Defendant has submitted the Declaration of Rick Barron, the

Director of Elections for the Fulton County Board of Elections and Registration,

who attests that Fulton County has deputy registrars available at each polling

location for both early voting and Election Day who can verify proof of

citizenship. But at least for Mr. Oren, this was not true. Mr. Barron also states that

Fulton County has a process in place to update a voter’s status when they show

proper proof of citizenship so that they can cast a regular ballot, which might “take

a few minutes.” Decl. of Rick Barron at ¶ 4 [Doc. 29-1]. However, Mr. Barron

does not say what this process is and whether it aligns with the five (5) Options

Defendant has presented to the Court. Finally, Mr. Barron boldly states that Mr.

Oren “was able to present proof of citizenship at the polls and cast a regular


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ballot.” Id. at ¶ 5. Indeed, Mr. Oren was able to do so, after two trips to his

polling location, looking up information on Defendant’s website, placing his own

call to the Fulton County voter registration office, and providing election officials

with a name and telephone number to call to help change his status. Mr. Barron

seems to overlook the hurdles Mr. Oren jumped.

      There are additional problems with Defendant’s position. First, the October

23 Memorandum was simply posted to an online bulletin board for election

officials, where, according to Mr. Harvey, county election and registration officials

regularly communicate regarding election matters, but it was not sent directly to

anyone. Second, the Georgia Poll Worker Manual is incomplete, leaving out

Options 3 and 4 for voting and leaving out information about how to convert a

provisional ballot in Option 5 into a non-provisional ballot. Ga. Poll Worker

Manual (2018 ed.) at 42 [Doc. 17-9]. This indicates a lack of training to poll

workers about the citizenship verification process. Finally, Defendant’s website

titled, “Information for Pending Voters,” merely says that an individual in

“pending status” due to citizenship may “show acceptable proof of citizenship

when you go to vote or when you request an absentee ballot.” 4 The site further

provides that to specifically vote in the November 6, 2018 election, the individual

will need to show proof of citizenship to a deputy registrar. This confusing

4
     GEORGIA       SECRETARY      OF     STATE,     Information    for      Pending      Voters,
http://sos.ga.gov/index.php/general/information_for_pending_voters (last visited Oct. 31, 2018).

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information does not match the five (5) Options Defendant has presented to the

Court as to how these individuals can vote on Election Day.

      Additionally, Plaintiffs argue that the citizenship verification procedure has

a disparate impact on minority voters. Plaintiffs rely on the declaration of Michael

McDonald, Associate Professor of Political Science at the University of Florida,

who states that Asian applicants constitute 27.0 percent of those flagged as non-

citizens even though they comprise only 2.1 percent of Georgia’s registered voter

pool; Latino applicants constitute 17.0 percent of those flagged as non-citizens

even though they comprise 2.8 percent of Georgia’s registered voter pool; and

white applicants constitute only 13.7 percent of those flagged as non-citizens even

though they comprise 54.0 percent of Georgia’s registered voter pool. Decl. of

Michael McDonald at 7-8 [Doc. 17-11]. Plaintiffs argue that this disparate impact

“matters” when evaluating the severity of the burden on individuals’ constitutional

right to vote. See League of Women Voters of Fla., Inc. v. Detzner, 314 F. Supp.

3d 1205, 1216-20 (N.D. Fla. 2018) (disparate impact “matters” in the balancing

test to evaluate whether the effects of a facially neutral and nondiscriminatory law

are unevenly distributed across identifiable groups). Defendant did not respond to

Plaintiffs’ argument on disparate impact.

      Based on this evidence, the Court must assess the burden on the

constitutional right to vote for those individuals who have been flagged and placed


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into pending status due to citizenship. “Ordinary and widespread burdens, such as

those requiring nominal effort of everyone, are not severe.” Crawford v. Marion

Cty. Election Bd., 553 U.S. 181, 205 (2008) (Scalia, J., concurring) (quotation

omitted). But burdens “are severe if they go beyond the merely inconvenient.” Id.

Based on the limited factual record before the Court, including the uncontested

evidence of disparate impact on a particular class of individuals, as well as the

parties’ arguments presented on an emergency basis, the Court finds that Plaintiffs

have shown a substantial likelihood of success that the burden is severe for those

individuals who have been flagged and placed in pending status due to citizenship.

As shown at least by Mr. Oren’s experience, it was not a nominal effort for him to

vote; it was a burdensome process requiring two trips to the polls, his own

research, and his hunting down a name and telephone number to give to election

officials so that his citizenship status could be verified, all after he had already

submitted proof of citizenship with his voter registration application. This is

beyond the merely inconvenient.

      Next, the Court must identify the precise interests put forward by Defendant

to justify the severe burdens on these individuals. Defendant asserts that the

State’s regulatory interest is in assuring that voters are United States citizens,

which the Court finds to be compelling.




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         Therefore, the process of verifying proof of citizenship may only survive if it

is narrowly tailored and advances a compelling state interest. Timmons, 520 U.S.

at 358. In their Reply, Plaintiffs argue two ways in which Defendant Kemp’s five

(5) Options for verifying proof of citizenship severely burden the right to vote of

eligible Georgians who have been inaccurately flagged as non-citizens without

advancing any state interest, much less a narrowly tailored, compelling state

interest. First, Plaintiffs contend that Defendant is burdening the right to vote for

these individuals by placing newly naturalized United States citizens into pending

status based on a reliance of DDS files, even when they have submitted proof of

citizenship with their voter registration application. In their filings before the

Court, Plaintiffs did not seek relief that would address relieving this burden nor did

Plaintiffs’ counsel at the hearing specifically ask for this relief, even when the

Court asked counsel to state precisely the relief sought. Nevertheless, to the extent

that Plaintiffs are asking the Court to issue relief that would require the county

registrars of the 159 counties in Georgia to review the voter registration

applications for all individuals placed in pending status due to citizenship, by

checking to see if these individuals submitted proof of citizenship with their

applications, all before November 6, 2018, is impractical, overly burdensome to

Defendant, and will inject chaos into an election already fraught with challenges.5


5
    There may be substantial merit to Plaintiffs’ argument that county registrars failed to review

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       The second way that Plaintiffs contend Defendant has severely burdened the

right to vote of eligible Georgians who have been inaccurately flagged due to

citizenship without advancing a narrowly tailored, compelling state interest is by

placing needless hurdles in front of voters when they bring documentary proof of

citizenship with them to vote. As noted above, Defendant has proposed five (5)

Options for these individuals to vote in the upcoming election. All of these

Options, except Option 4, require proof of citizenship to a deputy registrar. In

response, Plaintiffs argue that Defendant’s requirement that proof of citizenship

may be accepted only by a deputy registrar cannot survive any level of scrutiny

because Defendant has not offered any legitimate justification for why deputy

registrars, and not poll workers or managers, can accept documentary proof of

citizenship.

       Defendant’s justification at the hearing for why deputy registrars must verify

proof of citizenship was because the law requires deputy registrars to do so.

Indeed, O.C.G.A. § 21-2-216(g)(1) provides that “[t]he board of registrars shall not

determine the eligibility of the applicant until and unless satisfactory evidence of

citizenship is supplied by the applicant.”            See also id. at § 21-2-216(g)(2)

(satisfactory evidence of citizenship includes photocopies of a birth certificate,


proof of citizenship submitted with voter registration applications. But this is an issue for
another day, one that cannot be resolved before the November 6, 2018 election. Moreover, the
Court’s remedy in this order effectively reaches the same result – allowing individuals flagged
due to citizenship to be able to vote on November 6, 2018.

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United States passport, and United States naturalization documents presented to the

board of registrars).

      The Court must now evaluate “the extent to which [the state interest of

ensuring that only United States citizens vote] make it necessary to [severely]

burden [Plaintiffs’] rights.” Stein, 774 F.3d at 694. The Court finds that § 21-2-

216(g)(1)-(2), requiring that the board of registrars determine whether the

individual has supplied satisfactory evidence of citizenship, as well as Defendant’s

implementation of HB 268, for the upcoming election on November 6, 2018,

burden the constitutional right of individuals flagged and placed into pending

status due to citizenship more than is necessary. Therefore, § 21-2-216(g)(1)-(2)

and Defendant’s implementation of HB 268 are not narrowly tailored to serve the

compelling state interest of ensuring that only United States citizens are voting.

      The legislative history of § 21-2-216(g)(1)-(2) does not explain why the

board of registrars must verify proof of citizenship.        Additionally, Defendant

makes the leap from allowing the board of registrars, as required by the law, to

verify proof of citizenship, to allowing a deputy registrar to do so, without any

explanation. While “[t]he board of registrars in each county may appoint deputy

registrars to aid them in the discharge of their duties,” it is unclear if the board can

discharge its duty to verify proof of citizenship. See O.C.G.A. at § 21-2-213.

Further, Defendant has not explained why a deputy registrar has been selected as


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the person who can verify citizenship. Defendant has presented no information

about a deputy registrar’s particular qualifications or training that make these

registrars more qualified than anyone else to accept proof of citizenship.

      Importantly, Defendant’s requirement that a deputy registrar must verify

citizenship crumbles when the Court reviews Defendant’s own proposals. As set

forth above, Defendant proposes five (5) Options for verifying proof of citizenship

in the upcoming election. Again, Option 4 is as follows:

      4. If the [deputy registrar] cannot be reached (or the requisite
         technology is not available), then the applicant shall be offered the
         opportunity to cast a provisional ballot. In such a situation, the
         provisional ballot should be marked by the poll manager . . . to
         confirm that the applicant presented one of the forms of acceptable
         proof of citizenship and ID at the time the ballot was cast, and the
         provisional ballot shall be counted as a vote without requiring any
         further action.

Def.’s Resp. in Opp’n to Pls.’ Emergency Mot. for Prelim. Inj. at 15 [Doc. 24-1]

(quotations and citations omitted).     Option 4 does not require that a deputy

registrar verify proof of citizenship. At the hearing, Defendant explained that

under Option 4, the provisional ballot envelopes will have notations from the poll

manager, which will become “self-authenticating” regarding the citizenship

verification. If a poll manager can verify proof of citizenship only when a deputy

registrar is not available or the technology for sending proof of citizenship to a

deputy registrar is not available, then this begs the question of why a poll manager

cannot verify all proofs of citizenship and why a provisional ballot needs to be cast

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in the first place. Thus, Defendant’s own solution in Option 4 demonstrates that

requiring a deputy registrar to verify proof of citizenship unnecessarily burdens

these individuals’ right to vote more than necessary. Such a hurdle need not be

jumped. See Fla. Democratic Party v. Scott, 215 F. Supp. 3d 1250, 1257 (N.D.

Fla. 2016) (finding that it was wholly irrational for a state to refuse to extend a

voter registration deadline when the state already allows the Governor to do so);

Green Party of Ga. v. Kemp, 171 F. Supp. 3d 1340, 1365 (N.D. Ga. 2016) (petition

requirement was not narrowly tailored where a lower number of signatures to

access the general election ballot would have eased the burden on voters’ and

political bodies’ rights while still serving the state’s interests). 6

       All of the five (5) Options derive from the Settlement Agreement in NAACP

v. Kemp. However, the Settlement Agreement does not tie this Court’s hands on

the proof of citizenship issue. As the Court has explained above, the Settlement

Agreement specifically exempted O.C.G.A. § 21-2-216(g), which is the part of HB

268 that addresses the documentary proof for citizenship. This law was not yet

implemented at the time of the Settlement Agreement and became enacted months

later. Moreover, not all parties in this suit were part of the Settlement Agreement.




6
  Similarly, the experience of Mr. Oren further demonstrates that a deputy registrar need not
necessarily verify proof of citizenship. It has not been presented to the Court whether the person
who eventually verified Mr. Oren’s proof of citizenship via a phone call was a deputy registrar.

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       In addition, Defendant’s method for checking the proof of identity for those

who have been flagged and placed into pending status based on information other

than citizenship also belies Defendant’s claim that a deputy registrar must verify

proof of citizenship. As explained above, Defendant has publicized that if an

individual is in pending status for a mismatch for information other than

citizenship, the individual need only go to a polling location and present proof of

identity to a poll worker. See Oct. 23 Mem. at 1 [Doc. 27-1]. However, to verify

identity, the law requires that an individual must provide “sufficient evidence to

the board of registrars.” O.C.G.A. § 21-2-220.1(c)(2); see also id. at § 21-2-

220.1(c)(1). Defendant has not explained why he is willing to ignore the law’s

requirement of proving identity to a board of registrars for individuals flagged for

reasons other than citizenship but intends to enforce the law against individuals

flagged for citizenship.   This raises grave concerns for the Court about the

differential treatment inflicted on a group of individuals who are predominantly

minorities.

      The requirement that a deputy registrar verify proof of citizenship is also

overly broad because poll managers are capable of verifying proof of citizenship.

Allowing poll managers to verify proof of citizenship would alleviate the severe

burden placed on individuals who have been flagged and placed in pending status

for citizenship while still serving the State’s interest of ensuring that only United


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States’ citizens are voting. See Fla. Democratic Party, 215 F. Supp. 3d at 1257;

Green Party of Ga., 171 F. Supp. 3d at 1365. Allowing a poll manager to verify

proof of citizenship is a practical and viable alternative for several reasons. First,

Mr. Harvey attests that each polling place has one poll manager. See O.C.G.A. §§

21-2-2(11), 21-2-90. Second, Defendant proposed under Option 4 that a poll

manager would be able to self-authenticate proof of citizenship for a provisional

ballot. Third, pursuant to the October 23 Memorandum, the poll manager has

authority to override the status using their password for a voter flagged as a

possible non-citizen. Oct. 23 Mem. at 4. The poll manager can change the voter

status, such that a poll worker could then issue a voter access card. Id. Fourth, the

Court finds that a poll manager can actually look at citizenship documents and

verify them; poll managers are required to be “judicious, intelligent, and upright

citizens of the United States.” O.C.G.A. § 21-2-92(a). Lastly, poll managers are

already tasked with verifying identity documents. As mentioned above, Defendant

has presented no argument that deputy registrars possess additional training or

skills that make them superiorly qualified to check citizenship documents.

      For all of these reasons, the Court concludes that the specific requirements

of § 21-2-216(g)(1)-(2) – that proof of citizenship be verified by a board of

registrars, which Defendant has implemented as verification by a deputy registrar –

as well as Defendant’s five (5) Options for allowing individuals with flags for


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citizenship to vote in the upcoming election, sweep broader than necessary to

advance the State’s interest, creating confusion as Election Day looms.                        See

Norman v. Reed, 502 U.S. 279, 290 (1992) (finding law for gathering signatures

for a new party was not narrowly tailored when it swept broader than necessary to

advance the state’s interest). As a result, the Court invalidates the requirement that

proof of citizenship be verified only by a board of registrars or a deputy registrar

for the November 6, 2018 election for a regular ballot.7 Thus, Plaintiffs have

shown a substantial likelihood of success on the merits of their claim that

Defendant has violated the right to vote for individuals placed in pending status

due to citizenship.

               2. Irreparable Harm

       Defendant argues that Plaintiffs cannot show that irreparable harm will

result in the absence of a preliminary injunction because Plaintiffs’ alleged harm

about individuals flagged as non-citizens losing a right to vote is conjectural and

hypothetical.     However, as Mr. Oren’s experience indicates, there is a very

substantial risk of disenfranchisement.              Additionally, in light of the Court

invalidating the requirement that a deputy registrar must verify proof of

citizenship, there is misleading information at least on the Secretary of State’s


7
  As set forth below, the Court finds that if an individual arrives at a polling location but cannot
show sufficient proof of citizenship, that individual may return to the poll with valid proof of
citizenship or cast a provisional ballot.

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website about how to prove citizenship at the polls and there has been a lack of

training of election officials for verifying citizenship at the polls, all of which

could lead to these individuals not being able to cast a vote in the upcoming

election. 8

       Defendant further argues that Plaintiffs’ delay in bringing this suit indicates

an absence of irreparable harm. However, Plaintiffs’ facts for this case developed

over time, including gathering evidence like the experience of Mr. Oren, which

would have been unknown to Plaintiffs until Mr. Oren attempted to vote on

October 16, 2018. Plaintiffs had no other way of knowing whether Defendant was

actually implementing the citizenship verification procedure at the polls as

Defendant claimed it was until that procedure was tested.                   Therefore, if a

preliminary injunction is not granted, the loss of a right to vote cannot be

remedied.

       Moreover, the Court finds that Plaintiffs, as organizations, will also suffer

irreparable injury distinct from the injuries of eligible voters.                Without an

injunction    to   address     the   citizenship    verification    procedure,     Plaintiffs’

organizational missions, including registration and mobilization efforts, will

continue to be frustrated and organization resources will be diverted to assist with

the citizenship mismatch issue.           Such mobilization opportunities cannot be

8
  The misleading information on the Secretary of State’s website and the lack of training for
election officials was true even before the Court invalidated the deputy registrar requirement.

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remedied once lost. See League of Women Voters of Fla. v. Cobb, 447 F. Supp.

2d 1314, 1339 (S.D. Fla. 2006) (finding irreparable harm to community

organizations engaged in collecting and submitting voter registration applications,

where their voter registration operations had been interrupted and they were losing

valuable time to engage in core political speech and association and to add new

registrants to the election rolls). Therefore, the Court finds that Plaintiffs have

shown they will suffer irreparable harm if an injunction does not issue.

             3. Balance of Harms & Public Interest

      The Court finds that the threatened injury to Plaintiffs as organizations and

to the individuals flagged as non-citizens outweighs any harm Plaintiffs’ requested

relief would inflict on Defendant. The Court recognizes the administrative burden

the Court’s order may place on Defendant, particularly this close to the election.

However, the Court finds that this burden – disseminating information about who

may check proof of citizenship and training poll managers how to do so, as set

forth below – is minimal compared to the potential loss of a right to vote altogether

by a group of people. Moreover, Defendant’s harm appears to be minimal given

that Defendant proposed having poll managers verify proof of citizenship in

Option 4. Finally, granting Plaintiffs the relief they seek would be in the public’s

interest to ensure that there is a procedure in place to allow every eligible Georgia

citizen to register and vote.


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      D. Bond

      Federal Rule of Civil Procedure 65(c) provides that a “court may issue a

preliminary injunction or a temporary restraining order only if the movant gives

security in an amount that the court considers proper to pay the costs and damages

sustained by any party found to have been wrongfully enjoined or restrained.”

FED. R. CIV. P. 65(c). In its discretion, the Court waives the bond requirement.

See BellSouth Telecoms., Inc. v. MCIMetro Access Transmission Serv., LLC, 425

F.3d 964, 971 (11th Cir. 2005) (“[I]t is well-established that the amount of security

required by [Rule 65(c)] is a matter within the discretion of the trial court, and the

court may elect to require no security at all.”) (internal citation and punctuation

omitted).

      E. Summary

      In sum, the Court finds that Plaintiffs have met their burden to grant a

preliminary injunction. Plaintiffs have standing to pursue this relief, and the relief

they seek is not barred by the doctrine of laches.         Plaintiffs have shown a

substantial likelihood of success on the merits of their claim that Defendant is

violating the right to vote, as guaranteed by the First and Fourteenth Amendments

to the United States Constitution, for individuals Defendant has flagged and placed

into pending status due to citizenship. The election scheme here places a severe

burden on these individuals. The specific requirements of § 21-2-216(g)(1)-(2),


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that citizenship must be verified by only a board of registrars, and Defendant’s

proposed five (5) Options for verifying proof of citizenship are not narrowly

tailored to advance a compelling state interest.      These individuals will suffer

irreparable harm if they lose the right to vote, this harm outweighs any harm to

Defendant, and granting an injunction is in the public’s interest.

        As set forth below, because Plaintiffs have met their burden to warrant the

issuance of a preliminary injunction, the Court will direct Defendant to allow

county election officials to permit individuals flagged and placed in pending status

due to citizenship to vote a regular ballot by furnishing proof of citizenship to poll

managers or deputy registrars. To be clear, once an individual’s citizenship has

been verified by a deputy registrar or a poll manager, that individual may cast a

regular ballot and the vote counts.

III. Conclusion

        For the foregoing reasons, the Court GRANTS Plaintiffs’ Emergency

Motion for Preliminary Injunction [Doc. 17]; and GRANTS Defendant’s Motion

for Leave to File Corrected Brief [Doc. 24].

        The Court DECLARES as follows:

        For individuals who have been flagged and placed in pending status due to

citizenship, these individuals may vote in the November 6, 2018 election in these

ways:


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         1. Prior to voting, and pursuant to the instructions in the notification
            letter the individual received from the county board of registrars, the
            individual may provide the county registrar with a document showing
            that the individual is a United States citizen via personal delivery,
            mail, email as an attachment, or a fax.

         2. At a polling location, the individual may provide proof of
            identity and acceptable proof of citizenship to a poll manager or
            a deputy registrar, and after verification, cast a regular ballot.

         3. At a polling location, if the applicant is unable to present one of
            the accepted forms of proof of citizenship at a polling location,
            then the applicant (a) may return to the polling location with
            sufficient proof of citizenship and follow (2) above, or (b) shall
            be offered the opportunity to cast a provisional ballot. If the
            applicant casts a provisional ballot, the applicant must then
            present proof of citizenship in person, or via fax, email or text
            message to the county registrar before the close of the
            provisional ballot period on the Friday following the election.

The Court ISSUES the following INJUNCTION:

      The Court HEREBY DIRECTS Brian Kemp, in his official capacity as the

Secretary of State, to act immediately, as follows:

   1. Allow county election officials to permit eligible voters who registered to
      vote, but who are inaccurately flagged as non-citizens to vote a regular ballot
      by furnishing proof of citizenship to poll managers or deputy registrars.

   2. Update the “Information for Pending Voters” on the Secretary of State’s
      website so that it provides (a) clear instructions and guidance to voters in
      pending status due to citizenship and (b) a contact name and telephone
      number that individuals may call with questions about the pending status due
      to citizenship.

   3. Direct all county registrars, deputy registrars, and poll managers on how to
      verify proof of citizenship to ensure that they can properly confirm
      citizenship status consistent with this order.


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4. Issue a press release (a) accurately describing how an individual flagged and
   placed in pending status due to citizenship may vote in the upcoming
   election, as set forth herein; and (b) providing a contact name and telephone
   number that individuals may call with questions about the pending status due
   to citizenship.

5. Direct the county boards of elections to post a list of acceptable
   documentation to prove citizenship, which includes a naturalization
   certificate, birth certificate issued by a state or territory within the United
   States, U.S. passport, and other documents or affidavits explicitly identified
   by Georgia law and listed on the Georgia Secretary of State’s website, at
   polling places on Election Day.

   SO ORDERED, this ____
                    2nd day of November, 2018.


                                           ______________________
                                           Eleanor L. Ross
                                           United States District Judge
                                           Northern District of Georgia




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